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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
GALVESTON DIVISION


Aaron Booth,
on behalf of himself and all others similarly
situated,

                                   Plaintiff,
              v.                                 Civil Action No. 18-cv-0104

Galveston County et al.,

                                   Defendants.




                    PLAINTIFF’S RESPONSE TO
                   DEFENDANTS’ OBJECTIONS TO
              MEMORANDUM AND RECOMMENDATION ON
                PRELIMINARY INJUNCTION MOTIONS
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                      NATURE AND STAGE OF PROCEEDING

       This lawsuit challenges Galveston County’s two-tiered justice system, which

imposes wealth-based pretrial detention on arrestees without providing a meaningful

hearing or defense counsel. Following extensive briefing, multiple oral arguments, and

testimony at a daylong evidentiary hearing, Magistrate Judge Edison has issued a

Memorandum and Recommendation on Plaintiff Aaron Booth’s preliminary injunction

motions. (“Mem.”), ECF No. 267. The recommendation is to deny Mr. Booth’s first

preliminary injunction motion (regarding his wealth-based imprisonment and due process

claims), ECF No. 3-1, and to grant his second preliminary injunction motion (regarding

his right to counsel claim), ECF No. 205. This brief responds to objections to the

recommendation filed by the County (“County Obj.”), ECF No. 272, the Felony Judges

(“FJ Obj.”), ECF No. 273, and the District Attorney (“DA Obj.”), ECF No. 274.

                             ISSUES TO BE RULED UPON

       Whether the Memorandum’s reasons for granting Mr. Booth’s second preliminary

injunction motion were clearly erroneous or contrary to law. Fed. R. Civ. P. 72(a).

                              SUMMARY OF ARGUMENT

       Judge Edison’s recommendation to grant the second preliminary injunction motion

is correct and largely premised on legal questions this Court has already decided. The

Court has already ruled that an initial bail hearing is a critical stage of prosecution, and

that the Felony Judges are final policymakers for post-arrest policies in Galveston

County. Despite these rulings, the Felony Judges refuse to provide counsel at initial bail




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hearings as required by the Sixth Amendment. Mr. Booth has demonstrated a high

likelihood of success on the merits of his Sixth Amendment claim.

       Judge Edison correctly determined that Mr. Booth has satisfied the remaining

requirements for preliminary injunctive relief. Irreparable harm is plain: among other

harms, an arrestee forced to represent herself at an initial bail hearing is far more likely to

be jailed pretrial than one who has counsel. The harm of being locked in jail outweighs

any potential harm to the Defendants, because the County is willing to pay to provide

counsel. And, as is true for any constitutional right, protecting arrestee’s Sixth

Amendment rights is in the public interest.

       Finally, the Court should disregard objections that are not properly raised. The

County was unopposed to Mr. Booth’s second preliminary injunction motion, thus

waiving its right to object on any grounds. The Felony Judges raise a new argument

contesting their status as policymakers, which the Court should disregard because they

were not raised in the briefing before Judge Edison. And the District Attorney has no

basis to object because he is explicitly excluded from Judge Edison’s recommendation.

                                       ARGUMENT

I.     The Court Should Disregard Objections That Are Improperly Raised

       The County and the Felony Judges raise improper objections that should be

disregarded. The County did not oppose Mr. Booth’s second preliminary injunction

motion before Judge Edison, thus waiving all objections to his recommendation. As for

the Felony Judges, the sole policymaker argument they made in their briefing before

Judge Edison was that they “cannot control the magistrates or bond pre-indictment or


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writ of habeas corpus.” Felony Judges’ Opp. to Pl.’s Second Prelim. Inj. Mot. at 10, ECF

No. 234. While the Felony Judges correctly observed that final policymakers are

determined by state law, nowhere in their opposition brief did they argue that adoption of

the Galveston County Indigent Defense Plan is judicial conduct, or that adoption of the

plan is state action (as opposed to local action) under McMillian v. Alabama, 520 U.S.

781, 785 (1997). See id. at 9–10.

       It is black-letter law that “a party who objects to the magistrate judge’s report

waives legal arguments not made in the first instance before the magistrate judge.”

Freeman v. County of Bexar, 142 F.3d 848, 851 (5th Cir. 1998) (citing Cupit v. Whitley,

28 F.3d 532, 535 (5th Cir. 1994), cert denied, 513 U.S. 1163 (1995)). A party “‘has a

duty to put its best foot forward’ before the Magistrate Judge—i.e., ‘to spell out its

arguments squarely and distinctly’—and, accordingly, that a party’s entitlement to de

novo review before the district court upon filing objections to the Report and

Recommendation of the Magistrate Judge does not entitle it to raise issues at that stage

that were not adequately presented to a Magistrate Judge.” Cupit, 28 F.3d at 535, n.5

(quoting Paterson-Leitch Co. v. Massachusetts Municipal Wholesale Electric Co., 840

F.2d 985, 990-991 (1st Cir. 1988)).

       The County and the Felony Judges violated their duty to raise the arguments in

their objections at the appropriate time, when Judge Edison had a chance to address them.

See Cupit, 28 F.3d at 535, n.5 (citations omitted). They are not entitled to submit new

objections for the first time before this Court. The Court should disregard the County’s

objections in their entirety, and it should disregard the Felony Judges’ new arguments


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about judicial conduct under Davis v. Tarrant County and state action under McMillian v.

Alabama.

        The Court should also disregard the District Attorney’s objections. Judge Edison’s

recommendation explicitly excludes the District Attorney from the recommended scope

of relief.

II.     The Court Already Ruled That the Felony Judges Are Final County
        Policymakers

        The Court has ruled as a matter of law that the Felony Judges are Galveston

County policymakers for post-arrest practices. Memorandum & Recommendation on

Mots. to Dismiss (“MTD Mem.”) at 38–39, ECF No. 151. That ruling governs this case

under the well-settled law of the case doctrine. See generally Wright & Miller, 18B Fed.

Prac. & Proc. Juris. 2d § 4478–4478.1.

        “[W]hen a court decides upon a rule of law, that decision should continue to

govern the issues in subsequent stages of the same case.” Christianson v. Colt Indus.

Operating Corp., 486 U.S. 800, 815–16 (1988). The doctrine creates a “strong

presumption of finality” in order to advance the “sound public policy that litigation

should come to an end.” United States v. Lawrence, 179 F.3d 343, 351 (5th Cir. 1999)

(quoting United States v. Mendez, 102 F.3d 126, 131 (5th Cir. 1996)). A party overcomes

the presumption of finality if the Court becomes “convinced that its prior decision is

clearly erroneous and would work a manifest injustice.” Pepper v. United States, 562

U.S. 476, 506–07 (2011) (quoting Arizona v California, 460 U.S. 605, 618 (1983).




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       The County and Felony Judges object to Judge Edison’s recommendation that the

Felony Judges are final county policymakers when they adopt the Galveston County

Indigent Defense Plan. County Obj. at 9–18; DA Obj. at 9–11. Judge Edison’s

recommendation on this point cited directly to this Court’s prior ruling. Mem. at 18

(citing Booth v. Galveston Cnty., 352 F. Supp. 3d 718, 744 (S.D. Tex. 2019). Contrary to

the Felony Judges’ argument, this ruling explicitly held that the Felony Judges’ power to

adopt the Indigent Defense Plan is “that which they claim to lack authority to do:

promulgating rules dictating post-arrest policies.” Booth, 352 F. Supp. 3d at 744.

Defendants have not carried their burden to overcome the presumption of finality

accorded to this Court’s prior ruling.

       On this basis alone, Judge Edison correctly recommended enjoining the County.

But even if the Court considered these arguments, as explained below, the Court should

still hold that adoption of the Galveston County Indigent Defense Plan is a local

administrative function. For the same reasons outlined in the Court’s initial ruling, Judge

Edison properly identified the Felony Judges as county policymakers with respect to the

provision of counsel at bail hearings. Mem. at 36-39.

       A.     Adoption of the Indigent Defense Plan Is an Administrative, Rather
              than Judicial Act

       The County and Felony Judges argue that the Felony Judges’ adoption of the

Indigent Defense Plan is judicial conduct. Their argument is premised entirely on a

misreading of Davis v. Tarrant County, 565 F.3d 214 (5th Cir. 2009). In Davis, the Fifth




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Circuit has held that a district court is “required to consider” four factors to determine

whether a judge’s actions are administrative or judicial:

              (1) whether the precise act complained of is a normal judicial
              function; (2) whether the acts occurred in the courtroom or
              appropriate adjunct spaces such as the judge’s chambers; (3)
              whether the controversy centered around a case pending
              before the court; and (4) whether the acts arose directly out of
              a visit to the judge in his official capacity.

Davis, 565 F.3d at 222.

       Here, the act at issue is rulemaking in the form of the Indigent Defense Plan. Tex.

Code Crim. Proc. Art. 26.04(a) (requiring felony judges to adopt an indigent defense plan

“in each county, by local rule”); Tex. Gov’t Code § 74.093(a) (granting felony judges

power to adopt “local rules of administration”); 2016 Galveston County Indigent Defense

Plan at 26, Ex. J, ECF No. 3-11 (describing “standing rules and order adopted by

unanimous vote of the below-signed judges”). Taking the last factors first, adoption of

the Indigent Defense Plan is neither “centered around a case pending before the court,”

nor does it arise “directly out of a visit to the judge in his official capacity.” Davis, 565

F.3d at 222. The plan is not tied to an individual party or case in any way. Accord

ODonnell v. Harris Cnty., 227 F. Supp. 3d 706, 745 (S.D. Tex. 2016) (holding judges’

adoption of rules to be administrative where they “impose rules for every case in every

court,” “require across-the-board rigid application in all courts” and “provide blanket

generic instructions”).

       The act of rulemaking is also administrative under the second Davis factor,

because it does not arise out of an adversarial process in a courtroom or chambers. The



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local rules in the Indigent Defense Plan are not “promulgated by a single judge’s signed

order” issued from her chambers. ODonnell, 227 F. Supp. 3d at 745. They are “adopted

by unanimous vote” by the district judges sitting as an administrative board outside of the

courtroom setting, where they sit en banc in a conference room and make administrative

decisions in public meetings subject to the Texas Open Meetings Act.1 2016 Galveston

County Indigent Defense Plan at 26 (describing “standing rules and order adopted by

unanimous vote of the below-signed judges”); accord ODonnell, 227 F. Supp. at 744

(holding rulemaking is administrative where “[t]he Rules of Court are promulgated by the

County Judges sitting en banc as a board, voting by two-thirds majority”). This

rulemaking would be indisputably administrative if it were undertaken by a local school

board, or even court administrators. It is not transformed into a judicial act simply

because the rules were made by judges. Forrester v. White, 484 U.S. 219, 228 (1988)

(“Whether the act done by him was judicial or not is to be determined by its character,

and not by the character of the agent.”); Davis, 565 F.3d at 222. Nor does the subject

matter of the rules make them judicial. Clearly, actions and decisions that decide if and

how lawyers are provided are not inherently judicial. As the County notes, the Texas

Legislature regularly passes statutes concerning appointment of counsel. County Obj. at

15 n.4. No one would call those acts “judicial.”




1
 See generally Galveston County Statutory County Boards, http://www.galvestoncountytx.gov/ja/Pages/
StatutoryCountyBoards_old.aspx (last visited Sept. 4, 2019) (posting agendas for board meetings to comply with the
Open Meetings Act).



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       Finally, and most importantly, the “precise act complained of” is rulemaking in the

form of a comprehensive indigent defense plan. Tex. Code Crim. Proc. Art. 26.04(a)

(requiring felony judges to adopt an indigent defense plan “in each county, by local

rule”); Tex. Gov’t Code § 74.093(a) (granting felony judges power to adopt “local rules

of administration”); 2016 Galveston County Indigent Defense Plan at 26, Ex. J, ECF No.

3-11 (describing “standing rules and order adopted by unanimous vote of the below-

signed judges”). This is not a normal judicial function, which is “the function of resolving

disputes between parties, or of authoritatively adjudicating private rights.” Antoine v.

Byers & Anderson, Inc., 508 U.S. 429, 435–436 (1993) (quoting Burns v Reed, 500 U.S.

478, 500 (1991)). For example, issuing a contempt citation or sentence in an individual

case is a judicial act. Malina v. Gonzales, 994 F.2d 1121, 1124–25 (5th Cir. 1993). By

contrast, the Supreme Court has held that implementing “a comprehensive plan” to

achieve a statutory objective is “an essentially administrative function.” Fed. Power

Comm’n v. Idaho, 344 U.S. 17, 21 (1952). That is precisely what the Indigent Defense

Plan is: a comprehensive plan implemented to achieve the objectives of the Texas Fair

Defense Act. It represents a local policy judgment about how court administrators should

carry out their statutory duties across a class of cases. Accord Supreme Court of Virginia

v. Consumers Union of the United States, Inc., 446 U.S. 719, 731 (1980) (holding judges’

“rulemaking” was “not an act of adjudication”); ODonnell, 227 F. Supp. at 745 (holding

judges’ adoption of rules to be administrative where they “provide blanket generic

instructions”).




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         This analysis makes clear that Davis is inapposite. Davis concerned an individual

attorney’s application to be included on a rotating list of attorneys for appointment to

indigent defendants, which, if granted, would have resulted in the attorney’s appointment

to individual cases. 565 F.3d at 219. Critically, Davis did not address adoption of the

County’s overall indigent defense plan,2 which establishes generally applicable rules for

inclusion on the appointment list.

         The Davis court acknowledged that there are “administrative, legislative, or

executive functions that judges may on occasion be assigned by law to perform,” and

“[a]lthough administrative decisions may be essential to the very functioning of the

courts, such decisions have not been regarded as judicial acts.” Id. at 222 (quoting

Forrester, 484 U.S. at 227). However, looking to the “nature of the act itself,” the Court

concluded that determining whether to put an individual attorney on the appointment list

was inextricably intertwined with the decision about whether to appoint that attorney to

an individual case. Id. at 226. The Davis Court concluded that because deciding which

lawyer to appoint in a specific case is a judicial act, granting an application that will

result in that appointment happening automatically is also a judicial act. Id. As The Court

explained: “decisions about which attorneys should be placed on the wheel functionally

determine which attorney actually will be appointed in a particular case.” Id.

         Unlike Davis, this case is not about the selection of an individual applicant for an

appointment list, or the “act of appointing counsel in a particular case,” which are clearly


2
  Mr. Davis challenged the Indigent Defense Plan, but the Fifth Circuit held that he lacked standing to do so, because
the plan had been officially amended to change the qualifications for appointments. Davis, 565 F.3d at 220–21.



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judicial acts. This case is about rulemaking: the county-wide policy decision of whether

any counsel will be present, at all, at initial bail hearings. As the Davis court observed,

while threshold decisions like whether counsel will be present at a bail hearing “‘may be

essential to the very functioning of the courts,’ such decisions have not been regarded as

judicial acts.” Id. at 222.

       The district court in ODonnell succinctly summarized this flawed argument from

the Davis case: “[t]he County argues that [the Davis] reasoning can be extrapolated to

hold that the policy regulating the imposition of bail in every misdemeanor case is

inextricable from the judicial act of setting bail in a particular case.” ODonnell, 227 F.

Supp. 3d at 743 (alteration in original). But the ODonnell court rejected this application

of Davis, concluding that while the judges are not liable for “decisions . . . [in] individual

cases,” they are liable when they “impose rules for every case in every court” and

“acquiesce[e] in . . . unwritten customs or practices by refusing to correct them in the

written polic[y].” Id. at 745. The Court should reach the same decision here. While the

Felony Judges would not be liable for particular appointment decisions, they are liable for

local rules codified in the Indigent Defense Plan, which apply “in every case in every

court.” Id.

       B.      The Felony Judges are Policymakers for Galveston County

       The Defendants argue that the Felony Judges are state actors; therefore, they

cannot be policymakers for the County. County Obj. at 8, 11, 16; FJ Obj. at 9–11.

However, the municipal liability analysis is not categorical with respect to a particular

official; it is specific with respect to the particular function at issue. McMillian v.


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Monroe Cty., Ala., 520 U.S. 781, 785 (1997). The Supreme Court has explained that a

public official may act at times on behalf of a municipality and at other time on behalf of

the state. Id. Indeed, this Court has already held that the Felony Judges act as

policymakers for Galveston County when adopting rules about whether indigent

defendants receive counsel at initial bail proceedings, MTD Mem. at 18, even though

they act on behalf of the state for other functions. Judge Edison followed this analysis in

his recommendation. Mem. at 18. Judge Edison’s holding is consistent with this Court’s

earlier ruling on the Defendants’ motions to dismiss that state law “[S]ection[s] 74.092

and 74.093 of the Texas Government Code [provides] the basis for the Felony Judges’

and Local Administrative District Court Judge’s authority to reform the policy” on behalf

of the County. See MTD Mem. at 31.

       The County and Felony Judges argue that that Judge Edison should not have relied

on ODonnell v. Harris Cnty., 892 F.3d 147 (5th Cir. 2018), because the case was brought

by misdemeanor arrestees, whose cases were presided over by County Court at Law

Judges, not Felony Judges, County Obj. at 10, FJ Obj. at 10; and also that ODonnell

“relies on a statute that is specific to Harris County, with no application in Galveston

County or anywhere else.” County Obj. at 11. The Felony Judges separately assert that

the ODonnell analysis is not applicable to provision of counsel. FJ Obj. at 9–11. These

arguments are all incorrect.

       The Fifth Circuit’s decision in ODonnell is directly applicable. The Fifth Circuit

held that “[T]he basic procedural framework governing the administration of bail in

Harris County is set by the Texas Code of Criminal Procedure and local rules


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promulgated by County Judges.” ODonnell, 892 F.3d at 153. In ODonnell, the governing

statute was Tex. Gov’t Code § 75.403, which authorized Harris County Judges to adopt

rules based on two-thirds vote of the judges. Id. In language that is materially

indistinguishable, Texas Gov’t Code §§ 74.092 and 74.093 grant Galveston County

Judges the same power to promulgate local administrative rules for Galveston County

criminal cases. Compare ODonnell, 892 F.3d at 155 (citing Tex. Gov’t Code § 75.403(f)

(“The judges may adopt rules . . . for practice and procedure in the courts.”)) with Tex.

Gov’t Code § 74.093 (“The district . . . judges . . . shall . . . adopt local rules of

administration.”). MTD Mem. at 32–38; Pl.’s Reply in Support of Second Prelim. Inj.

Mot. at 11, ECF No. 238 (“Article 26.04 of the Texas Code of Criminal Procedure—to

“adopt and publish written countywide procedures for timely and fairly appointing

counsel for an indigent defendant” by “local rule.” And the authority to “adopt local

rules,” as has been briefed at length elsewhere, is granted to the Felony Judges under

Section 74.093 of the Texas Government Code.”) (citations omitted).

       The Felony Judges in Galveston County set county policy in the same way as the

judges in Harris County: the Felony Judges failed to use their authority to reform their

bail practices, including providing counsel at the bail hearings. Instead, they “acquiesced

in an unwritten, countywide process for setting bail that violated both state law and the

Constitution.” ODonnell, 892 F.3d at 155–56.

       Additionally, the County re-asserts that Davis dictates that the Felony Judges are

not county policymakers because they are “state actors” when “appointing indigent

defense counsel in felony cases.” County Obj. at 11. These arguments fail because, as


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discussed above, determining whether to provide counsel at bail proceedings is an

administrative function for which the Felony Judges act on behalf of the County. Further,

because this act is administrative, the Court can enjoin the Felony Judges to provide

counsel even if they act on behalf of the State in this capacity. Ex parte Young, 209 U.S.

123 (1908).

         Finally, the County argues that the Texas Separation of Powers Doctrine

“prohibits the Felony Judges from being policymakers for the County,” County Obj. at

16-18, and that the “Texas Supreme Court made clear that the commissioners court is the

policy making body for Galveston County.” Id. The County relies heavily on Henry v.

Cox, 520 S.W. 3d 28 (Tex. 2017) for this proposition. Id. But Henry involved a dispute

between Galveston County and a felony judge over the proper salary for a county

employee. Id. at 32–33. The Texas Supreme Court held that Texas law denied district

court judges authority over county personnel decisions. Id. at 38. Here, as Judge Edison

correctly found, and ODonnell supports, the District Court Judges derive their authority

to determine bail hearing policies for Galveston County directly from state law,

specifically, from Tex. Gov’t Code §§ 74.092 and 74.093. County Obj. at 15–18.

III.     The Court Already Ruled That the Sixth Amendment Protects a Right to
         Counsel at Initial Bail Hearings

         Judge Edison correctly determined that Mr. Booth is substantially likely to

succeed on the merits of his Sixth Amendment claim. The Court has already ruled as a

matter of law that an initial bail hearing is a critical stage of prosecution, MTD Mem. at




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28–29, and the County does not contest this ruling. It is also uncontested that the County

does not provide counsel at initial bail hearings.

       The Felony Judges and the District Attorney nevertheless reiterate arguments

briefed in their motions to dismiss and ask the Court to revisit its holding that an initial

bail hearing is a critical stage. The Court should decline because (1) the Court’s earlier

rulings are the law of the case, and (2) the Court’s original ruling that initial bail setting is

a critical stage of prosecution was correct, for reasons further outlined by Judge Edison’s

recommendation.

       A.     The Court’s Ruling that a Bail Hearing is a Critical Stage is Law of the
              Case

       The Court has already ruled as a matter of law that “[t]here can really be no

question that an initial bail hearing should be considered a critical stage of trial.” MTD

Mem. at 28. Defendants’ objections to Judge Edison’s recommendation on this point are

irrelevant, because the law of the case doctrine is well-settled and applicable here. See

generally Wright & Miller, 18B Fed. Prac. & Proc. Juris. 2d § 4478–4478.1.

       Defendants have not carried their burden to overcome a presumption of finality. In

fact, Defendants have hardly raised new legal arguments, nor have they meaningfully

rebutted Plaintiff’s evidence with their own. The Court should not revisit its prior ruling.

       B.     Judge Edison Correctly Determined That Initial Bail Hearings are a
              Critical Stage of Prosecution

              1.      Judge Edison’s Recommendation is Consistent with Rothgery

       The Felony Judges reiterate their Rothgery argument without meaningfully

discussing Judge Edison’s ruling that “[t]he sole question at issue in Rothgery” was


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attachment of the right to counsel, and “the high court never addressed whether an initial

bail hearing is a ‘critical stage’ of trial.” 554 U.S. 191 (2008); Mem. at 30. The Court has

already considered and rejected this argument. MTD Mem. at 29.

                  2.       Judge Edison Correctly Determined That Initial Bail Hearings
                           Meet the Two-Pronged Test for a Critical Stage

         The Court’s prior Sixth Amendment ruling outlines the critical stage analysis. The

Court considered (1) whether an initial bail-setting hearing has the potential to prejudice

the defendant,3 and (2) whether counsel is necessary to avoid that prejudice.4 Accord

United States v. Wade, 388 U.S. 218, 237 (1967). Judge Edison’s recommendation

followed this legal analysis closely, asking “whether counsel would be needed to help a

defendant cope with complex legal problems raised during [an initial bail] hearing.”

Mem. at 23. Citing both evidence in the record and ample legal authority, Judge Edison

correctly determined that “[t]he answer is a no-brainer”:

              Mr. Booth himself testified that he didn’t know what to say at his initial
               bail hearing because he was “under informed,” and an attorney would have
               helped him.

              Galveston County magistrates testified that they were reluctant to elicit
               relevant information from arrestees.

              Ample empirical research indicates that lack of representation significantly
               increases the chance that an arrestee will be detained.

3
 Mem. at 27–28 (citing Bell v. Cone, 535 U.S. 685, 695–96 (2002); United States v. Ash, 413 U.S. 300, 311 (1973);
McAfee v. Thaler, 630 F.3d 383, 391 (5th Cir. 2011)).
4
 Id. (citing Rothgery, 554 U.S. at 212 n.16; Ash, 413 U.S. at 311; McAfee, 630 F.3d at 391). The Court also cited
other examples of critical stages as useful examples, id. at 28 (citing Coleman v. Alabama, 399 U.S. 1, 10 (1970)
(preliminary hearings); Hamilton v. Alabama, 368 U.S. 52, 54 (1961) (arraignments); Missouri v. Frye, 566 U.S.
134, 139 (2012) (plea negotiations)); and quoted approvingly from a recent district court case discussing
appointment of counsel at bail-setting hearings in Louisiana, which noted the high risk that bail-setting hearings can
prejudice defendants, as well as the necessity of counsel to protect defendants from that prejudice. Id. (quoting
Caliste v. Cantrell, 329 F. Supp. 3d 296, 314 (E.D. La. 2018)).



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                Evidence and legal authority indicates that there is a risk that arrestees who
                 advocate for their own release will make inculpatory statements irrevocably
                 prejudicing their cases.

                Evidence indicates that the initial bail determination has a possible
                 anchoring effect, making it more difficult for later-appointed counsel to
                 advocate for release.

Mem. at 24–36. Judge Edison’s recommendation is bolstered by Mr. Booth’s unrebutted

evidence that counsel can help an arrestee more accurately assess their ability to pay

bail—which is critical, because Defendants’ own witnesses acknowledged that arrestees

commonly overestimate what they can pay, inadvertently excluding themselves from the

bail review process.5 Mr. Booth also introduced unrebutted evidence that pro se arrestees

are unable to gather evidence to support arguments for their release, such as verifying

employment or collecting statements of support from loved ones.6 Also unrebutted was

evidence of the harm of being forced into an early, critical criminal proceeding without

counsel, and consequently struggling to establish a strong relationship to facilitate

investigation in the most important hours following arrest.7




5
 See generally Pl.’s First Proposed Findings of Fact ¶ 81(c) & n.171, ECF No. 201; Pl’s Second Proposed Findings
of Fact ¶ 23 & n.8, ECF No. 241.
6
    See generally Pl.’s Second Proposed Findings of Fact ¶¶ 22–23 & nn.25, 27–28.
7
  E.g., Colbert Deposition Transcript (“Colbert Tr.”) ECF No. 239-1 at 113:4–22 (“[I]f there’s one thing that lawyers
for poor people and low-income people have learned over the years, building trust and gaining a client’s confidence
requires an enormous investment of—of commitment, of energy, of showing, of demonstrating that you truly are
fighting on behalf of this individual. . . . [A] lawyer[ ] is going to continue to represent that person or will pass it
on—the information on to the next lawyer, who already has information, who already knows who has to be
investigated, which witnesses need to be spoken to. . . . Gaining a lawyer’s representation, at the initial appearance,
not only benefits the individual in terms of liberty, but it means that that person has somebody who is going to
present a formidable opposition to the state and to the prosecution.”).



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          Judge Edison’s analysis was not contrary to law, nor were his factual findings

clearly erroneous. Judge Edison faithfully applied legal principles recognized in the

Court’s prior Sixth Amendment ruling. The Felony Judges and the District Attorney rely

on cases that Judge Edison explicitly considered and rejected, because they predated

Rothgery, did not concern hearings at which bail was set, and did not involve the volume

of evidence or nuance of legal arguments considered by the Court and Judge Edison that

establish the importance of counsel in avoiding the devastating consequences of

detention.8

          Defendants further argue that initial bail hearings are not critical stages because

they are ministerial proceedings where arrestees are confronted with the allegations

against them “on paper” with no prosecutor present. E.g. DA Obj. at 7–8 (arguing

“information is considered on paper . . . initial bail setting . . . is not hotly contested”).

But Rothgery held that Sixth Amendment rights do not hinge on the physical presence of

a prosecutor. 554 U.S. at 206 (observing that, as is true in Galveston County,

““prosecutors . . . use [ ] systems to pre-screen cases early in the process before an initial

appearance”). These informal hearings perhaps would not be a critical stage if there were

no bail determination. However, as long as a bail determination is required, counsel must

be present to advocate for the arrestee, whose liberty is at stake regardless of the

formality of the hearing. Indeed, the only reason initial bail hearings are so cursory is

because counsel is absent. Were counsel provided as required by the Sixth Amendment,



8
    Mem. at 33–34.



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initial bail hearings would necessarily become more robust proceedings, where bail

determinations could be “hotly contested.”

       The Felony Judges further dispute Judge Edison’s critical stage analysis by listing

the ways in which pretrial hearings at issue in other Sixth Amendment cases differ from

initial bail hearings in Texas. FJ Obj. at 5–7 & nn. 20–22. But Judge Edison carefully

parsed these procedural differences, and recognized the unique importance of the bail

setting hearing. E.g., Mem. at 27–28 (block-quoting Coleman v. Alabama and noting:

“The Supreme Court reached this conclusion because, in part, a criminal defense attorney

can make effective arguments about the ‘necessity for . . . bail’ that a defendant would be

unlikely to advance” (emphasis added)). Far from being contrary to law, Judge Edison’s

Sixth Amendment analysis is a thorough and well-reasoned application of both

controlling and persuasive authority to a matter of first impression.

       Nor were Judge Edison’s findings of fact clearly erroneous. The Felony Judges

make a remarkable argument that Judge Edison “imagine[d]” his findings, and there was

“no evidence in the record that these scenarios have ever played out under the current

system.” FJ Obj. at 6. The District Attorney makes similarly baseless arguments about a

lack of evidence. DA Obj. at 9–10. The record in fact includes testimony from the chief

public defenders in Houston and San Antonio, who are both career criminal practitioners

with extensive experience representing Texas defendants in criminal cases; testimony

from a practitioner who has devoted his career to representing defendants at initial bail

hearings; empirical studies on the impact of representation at initial bail hearings; video

recordings of defendants making uncounseled statements at Galveston County’s initial


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bail hearings; evidence that Galveston County releases 90% of arrestees detained at initial

bail hearings after counsel is appointed to argue for their release; testimony from multiple

Galveston County magistrates that they avoid eliciting information from arrestees that

might facilitate their release; and an explicit admission from one Galveston County

magistrate that counsel is necessary to make certain arguments for release.9 The

Defendants’ assertion that there is not evidence of these risks playing out under

Galveston County’s current system is unfounded.

           Equally unfounded is the Felony Judges’ claim that it makes “little difference”

whether an arrestee is released at his initial bail hearing, or after an “examining trial with

the assistance of counsel post-magistration.” FJ Obj. at 5. The difference is that an

arrestee is forced to spend additional time locked in a jail cell.10 Even crediting

implementation of the bail review procedures as written, an arrestee’s counseled hearing

can be as long as 48 hours after arrest. And many arrestees do not receive a bail review

hearing at all, such as those who overestimate their ability to pay or who are unable to

retain a bail bond agent.11 These individuals remain in jail indefinitely. As Judge Edison

correctly observed, “every minute in custody can have a dramatic effect on an

individual’s life.” Mem. at 32. The record demonstrates that this period of unnecessary




9
 See generally Pl.’s First Proposed Finidngs of Fact ¶¶ 87, 99 & n. 239; Pl.’s Second Proposed Findings of Fact ¶¶
10–11, 16–30, 53.
10
     See generally id. ¶¶ 22–24.
11
     Pl.’s First Proposed Findings of Fact ¶ 88 (outlining categories of arrestees who do not get a bail review hearing).




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pretrial detention, whether it is 48 hours or even longer, can irrevocably prejudice the

arrestee’s underlying criminal case.12

           In sum, Judge Edison properly applied this Court’s prior ruling and binding

Supreme Court precedent to the evidence and concluded that initial bail hearings are a

critical stage of prosecution. None of the Defendants’ arguments undermine the Court’s

analysis.

IV.        Judge Edison Correctly Determined That the Evidence Merits a Preliminary
           Injunction Enforcing the Right to Counsel

           A.        Judge Edison’s Recommendation Will Not Harm Class Members

           The Felony Judges’ objection that the recommended preliminary injunction will

hurt class members is false, and unsupported by any evidence whatsoever. FJ Obj. at 12–

13. The Felony Judges can provide counsel to class members without causing delay—

indeed, they are doing so now in many cases. The Memorandum rejected Defendants’

baseless claim that a preliminary injunction would prolong pretrial detention for class

members and concluded “that Galveston County is capable of having appointed defense

counsel attend bail review hearings within approximately 24 hours of an arrest.” Mem. at

36. The record also includes uncontested testimony from the Chief Public Defenders of

Harris and Bexar Counties regarding the benefits of provision of counsel at magistration.

Id. at 36. The Felony Judges’ conjectured delay is entirely within their control and

avoidable. It is no reason to reject the recommended preliminary injunction.




12
     See generally id. ¶ 40.



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       The Memorandum also considered the administrative burdens of ensuring timely

magistration with provision of counsel and found that the benefits of providing counsel

far outweighed the burden, if any. Specifically, the Memorandum concluded that “[t]he

financial cost, if any, on the District Attorney and Galveston County is far from clear. By

contrast, indigent defendants are unquestionably more likely to remain in custody—even

if only for a short time—if they do not receive appointed counsel early in the process,

leading to time away from their friends, family, school, and employment.” Id. at 40.

       B.     Judge Edison’s Recommendation Correctly Identifies the Substantial
              Threat of Irreparable Harm Posed By Requiring Arrestees to Appear
              Pro Se at Initial Bail Hearings

       The County and the District Attorney claim that there is no substantial threat of

irreparable harm caused by the failure to provide counsel at magistration. County Obj. at

18; DA Obj. at 8–10. That is false as a matter of law. The deprivation of a constitutional

right “for even minimal periods of time constitutes irreparable injury justifying the grant

of a preliminary injunction” and, consequently, no further showing of irreparable injury is

required. Mem. at 37 (quoting Deerfield Med. Center v. City of Deerfield Beach, 661

F.2d 328, 338 (5th Cir. 1981)). Because the Memorandum found that the absence of

court-appointed counsel at an initial bail hearing violates an arrestee’s rights under the

Sixth Amendment, it held that the irreparable harm requirement is “automatically

satisfied.” Id. The Court explained that a deprivation of a constitutional right is

irreparable when it is “temporary.” Mem. at 39 (quoting Pugh v. Rainwater, 483 F.2d

778, 782-83 (5th Cir. 1973), rev’d in part on other grounds sub nom. Gerstein v. Pugh,

420 U.S. 103 (1975)).


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       The Memorandum also identified irreparable harm caused by the deprivation of

the right to counsel. The Memorandum cited uncontested record evidence, based on

empirical research, showing that defendants represented by counsel at initial bail setting

are less likely to make inculpatory statements at their hearing, less likely to have high bail

set, and less likely to be detained pending trial. Id. at 37. Defendants’ denial of this

evidence through ad hominem attacks and mischaracterization of multiple empirical

studies, e.g., FJ Obj. at 8, is contradicted by the County’s own assessment in a grant

application the County sent to the Texas Indigent Defense Commission. See Ex. UUU.

The County’s application noted many of the same forms of irreparable harm that the

Memorandum cited. Compare Ex. UUU and Mem. at 37. Particularly in light of these

concessions, the Memorandum correctly held that the record “easily” demonstrates a

substantial threat of irreparable harm. Id.

       C.     Judge Edison’s Recommendation Is Tailored to the Sixth Amendment
              Violation

       The District Attorney argues erroneously that the recommended preliminary

injunction erroneously includes relief for an unasserted Fifth Amendment violation. DA

Obj. at 11–12. At no point does the Memorandum treat the Fifth Amendment right

against compelled self-incrimination as an independent claim. Nor does the

Memorandum treat the increased likelihood that an uncounseled detainee would

volunteer incriminating statements as necessary or sufficient for the critical stage analysis

or, as the District Attorney alleges, that such an outcome somehow “transform[s]” the

initial hearing into a critical stage. DA Obj. at 12.



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        The Memorandum instead recognized that uncounseled detainees were more likely

to make incriminating statements at their initial hearings, leading to unfavorable

dispositions of their criminal cases. Id. Considering that outcome alongside is the other

concrete harms caused by the denial of counsel is entirely consistent with the Supreme

Court’s instruction that the critical stage analysis “calls upon [courts] to analyze whether

potential substantial prejudice to defendant's rights inheres in the particular confrontation

and the ability of counsel to help avoid that prejudice.” U.S. v. Wade, 388 U.S. 218, 227

(1967).

        The District Attorney does not dispute the risk that uncounseled arrestees will

make self-incriminating statements but maintains “there is no evidence that a magistrate’s

warning to remain silent is any less effective than the same warning from defense

counsel.” DA Obj. at 10. The District Attorney misses the point. Whether counsel can

more effectively warn against self-incrimination than a judge can is irrelevant (although

the Memorandum correctly concludes that counsel is more effective13). The point is that

arguments through counsel more effectively guard against self-incrimination, while also

more effectively advocating for release; thus avoiding the choice an unrepresented

arrestee faces of remaining silent or risking self-incrimination.




13
  Mem. at 27 (“An indigent defendant should . . . be permitted to discuss with appointed counsel the pros
and cons associated with waiving the right against self-incrimination before determining whether to speak
his mind at an initial bail hearing.”) (citing Wade, 388 U.S. at 225–26)


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                                    CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests that the Court grant his

preliminary injunction motions and enter his proposed injunction.



      Respectfully Submitted,



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                            CERTIFICATE OF SERVICE


       I certify that I filed this motion via the ECF system, which serves this motion on

all counsel of record.



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